                                                                                        18-80464-CRJ11
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                       UNITED STATES BANKRUPTCY COURT
                NORTHERN DISTRICT OF ALABAMA - NORTHERN DIVISION


  In the Matter of:
   Aqua Marine Enterprises, Inc.             }      Case No: 18-80464-CRJ11
                                             }
      DEBTOR(S).                             }
                                             }
                                             }

                                            ORDER
This matter came before the Court on Wednesday, March 28, 2018 11:30 AM, for a hearing on
the following:
     RE: Doc #59; Debtor's Renewed Motion for Relief from Stay to allow parties to proceed with
     Appeal
Proper notice of the hearing was given and appearances were made by the following:
     Kevin D. Heard, attorney for Aqua Marine Enterprises, Inc. (Debtor)
     Richard M Blythe (Bankruptcy Administrator)
     Kevin Morris, attorney for K&B Fabricators, Inc.
     Kevin Gray, Appellate Counsel to Debtor

     The Court considered the Motion and finds good cause exists to lift the stay.


It is therefore ORDERED, ADJUDGED and DECREED that:

   The Debtor's Renewed Motion for Relief from Stay to allow parties to proceed with Appeal is
   GRANTED effective March 5, 2018.

Dated: 03/28/2018                                      /s/ CLIFTON R. JESSUP JR.
                                                       CLIFTON R. JESSUP JR.
                                                       United States Bankruptcy Judge




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